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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                           CRIMINAL NUMBER:
                v.
                                                           1:18-cr-00032-2-DLF
 CONCORD MANAGEMENT AND
 CONSULTING LLC

         Defendant.


DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S OPPOSITION
 TO THE GOVERNMENT’S SECOND RENEWED MOTION FOR EARLY RETURN
                        TRIAL SUBPOENA

       Pursuant to Federal Rule of Criminal Procedure 17(c), Defendant Concord Management

and Consulting LLC (“Concord” or “Defendant”), through counsel, submits this Opposition to the

Government’s Second Renewed Motion for Early Return Trial Subpoena. In support, Concord

states as follows:

       I.      INTRODUCTION

       We are now to the government’s third attempt at obtaining a trial subpoena, and instead of

the government clearly identifying what it is seeking, it pleads in the alternative giving the court a

menu of options to choose from in the hopes of getting some, if not any, relief. But now, just two

months before trial, and after two years of pretrial litigation, the government prefers to have

Concord searching for evidence the government lacks rather than preparing to defend the case.

But the government’s arguments in support of its Motion are nothing more than reductio ad

absurdum, wherein it must have the documents from Concord or it can’t prove the case the grand

jury already indicted and about which the Attorney General already has said Concord is guilty.

This is akin to saying that the earth cannot be flat, otherwise people would be falling off the edges.




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       II.     BACKGROUND

       Two months ago, on December 3, 2019, the government filed its first Motion for Early

Return Trial Subpoena, seeking the Court’s approval to subpoena nine overbroad categories of

documents. ECF 267. Concord opposed that motion as a matter of law and because of its breadth.

ECF 273. With respect to categories four through nine in that subpoena, the Court agreed with

Concord, noting that these categories were “far too broad,” Dec. 12, 2019 Hr’g Tr. at 49:9, and

directed the government to attempt to “significantly narrow[] categories four through nine.” Dec.

12, 2019 Order at 4, ECF 279.

       On December 20, 2019, the government tried again, filing its first Renewed Motion for

Early Return of Trial Subpoena, which slightly revised the prior requests and sought: records

reflecting any payments from Concord to fund the activities of the Internet Research Agency

(“IRA”), made directly or through another organization, from January 1, 2014 to February 1, 2018;

all communications between any individual affiliated with Concord and any of thirteen individuals

listed by the government, from January 1, 2014 to February 1, 2018; and calendar entries for

Yevgeniy Prigozhin reflecting meetings between January 1, 2014 and February 1, 2018, with any

of fifteen names listed by the government. Concord moved to quash the early return trial subpoena

and opposed the government’s motion. ECF 288-1.

       On January 24, 2020, the Court again agreed with Concord and granted Concord’s motion

to quash as to these requests on the grounds that they failed to meet the specificity requirement

under Rule 17(c) and United States v. Nixon, 418 U.S. 683 (1974). Jan. 24, 2020 Hr’g Tr. 32:25-

35:8. As it pertains to the request for payment records, the Court found that the government failed

to demonstrate that payment records it sought relate to the allegations in the Indictment, and even

if they did, how that justifies its request for all records of payments between Concord and the IRA.

Id. 33:10-24. With respect to the request for communications, the Court similarly found that the


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government failed to justify its request for all communications concerning the IRA between

Concord employees and its list of thirteen individuals. Id. 33:25-34:16. And as to the request for

calendar entries, the Court found that the government failed to demonstrate that the calendar entries

it sought would likely contain admissible relevant information rather than information about

meetings that had nothing to do with the allegations in the Indictment. Id. 34:14-35:1. The Court

nevertheless provided the government yet a third opportunity to “further narrow its request, or []

provide additional justifications through more detailed evidence or a more thorough account of the

rational inferences it is relying on for its current request, or [] both.” Id. 35:2-8.

        In its latest attempt to craft valid subpoena requests for calendar entries, payment records,

and communications, the government not only swings and misses a third time (strike three), but

also attempts to stay at bat for fourth, fifth, and sixth swings as well. That is, the government

proposes, without any legal authority to support this approach, multiple menu-like options in each

category requested “in the alternative,” Mot. 5, just in case the Court again determines it has failed

to meet its burden in crafting an appropriate subpoena request, essentially reducing its Motion to

a jeremiad as opposed to a motion for relief. Imagine the endless litigation that would arise if

parties could simply present for each issue in dispute multiple options for the Court, never making

clear where the party believes the line should be drawn. The use of this tactic, for this reason

alone, should result in quashing of the subpoena.

        III.    LAW & ARGUMENT

        Rule 17(c)(2) provides that “on motion made promptly, the court may quash or modify the

subpoena if compliance would be unreasonable or oppressive.” Fed. R. Crim. P. 17(c)(2). What

constitutes “unreasonable or oppressive” for purposes of Rule 17 is guided by several fundamental

characteristics of subpoenas in criminal cases, the most important being that a Rule 17 subpoena

“was not intended to provide a means of discovery for criminal cases . . . .” Nixon, 418 U.S. at


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698; United States v. Ferguson, 37 F.R.D. 6, 7 (D.D.C. 1965) (“Rule 17 is not a rule for

discovery.”); United States v. Skelos, No. 15-CR-317 (KMW), 2018 WL 2254538, at *2 (S.D.N.Y.

May 17, 2018) (“a criminal subpoena should not be used as ‘a discovery device,’ but instead should

be used only as ‘a mechanism for obtaining specific admissible evidence’”). Rather, the purpose

of the rule “was to expedite the trial by providing a time and place before trial for the inspection

of subpoenaed materials.” Nixon, 418 U.S. at 699. Given the principles underlying this rule, a

party seeking documents under Rule 17 must demonstrate that it “cannot properly prepare for trial

without such production and inspection in advance of trial and that the failure to obtain such

inspection may tend unreasonably to delay the trial.” Id.1 Because of the limited reach of Rule

17, the subpoenaing party carries a higher burden to show that it is entitled to the documents it

seeks and it is not sufficient justification to simply want more documents. See id. at 700

(application must be “made in good faith and is not intended as a general ‘fishing expedition’”).

Accordingly, a party invoking Rule 17 “must clear three hurdles: (1) relevancy; (2) admissibility;

[and] (3) specificity.” Id. at 700.2

       As the Court noted in quashing the government’s prior attempt to subpoena these records,

“the specificity requirement can be satisfied if there’s a sufficient likelihood demonstrated through

rational inference that the documents being sought contain relevant and admissible evidence.” Jan.

24, 2020 Hr’g Tr. 33:2-5. Not only that, “[b]ut the government must provide a link that explains


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  Any argument that the sought-after materials are required for trial preparation is absolutely
contradicted by the Attorney General’s published opinion that Concord and its co-defendants are
guilty.
2
  The government asserts that Concord “no longer disputes” that the records it is seeking are
“directly relevant to this case and likely admissible at trial.” Mot. 6. This statement is bizarre and
untrue, and of course it is not supported by the government’s citation to Concord’s prior motion
challenging the subpoena requests. To be clear, Concord does dispute that the proposed subpoena
requests seek relevant and admissible evidence.



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what the government expects to find and why it expects to find it.” Id. 33:5-7 (citing United States

v. Binh Tang Vo, 78 F. Supp. 3d 171, 181 (D.D.C. 2015)).

       Although the parties agree that the Nixon standard must be applied in assessing the

propriety of a trial subpoena (see Mot. 2), in a misguided attempt to draw parallels to this case, the

government mischaracterizes the factual context of Nixon and grossly overstates its analogy to this

case. Nixon involved a trial subpoena for certain tapes containing conversations between the

President and one or more defendants named in the indictment. 418 U.S. at 687-88. In analogizing

to Nixon, the government suggests that the enforcement of the subpoena was affirmed because

“‘statements of one or more of the participants’ in some conversations shed light on the likely

relevance . . . [a]nd ‘the identity of the participants and the time and place of the conversations,

taken in their total context, permit[ted] a rational inference that at least part of the conversations

relate to the offenses charged in the indictment.’” Mot. 12 (quoting Nixon, 418 U.S. at 700). What

the government conveniently fails to acknowledge, however, is the rigorous factual showing the

government made in Nixon to overcome its heavy burden and demonstrate that its requests were

sufficiently specific to be enforceable. The “rational inference” that was permitted in Nixon was

not based on speculation or conjecture alone. Rather, it was grounded in a factual foundation that

was established by “White House daily logs and appointment records,” “edited transcripts of 43

conversations” which included “portions of 20 conversations subject to the subpoena,” and “sworn

testimony or statements of one or more of the participants in the conversations as to what was said

at the time.” Id. at 688, 700. Only after that factual groundwork was laid did the Supreme Court

“permit a rational inference that at least part of the conversations relate to the offenses charged in

the indictment” that was based on “the identity of the participants and the time and place of the

conversations, taken in their total context.” Id. at 700 (emphasis added).




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       Thus, Nixon instructs that the specificity requirement called for more than speculation or

conjecture. As this Court has observed, baldly asserting that the subpoena seeks “‘things that

would be evidence that we could potentially even use in our case-in-chief’ . . . is the type of vague

justification that makes clear the subpoenas were ‘a general “fishing expedition” that attempts to

use the rule as a discovery device.’” Vo, 78 F. Supp. 3d at 181. And that is precisely what the

government does here. As shown below, each of the government’s requests is supported by

nothing more than “vague justifications,” speculation, and conjecture. For this reason, the

government’s renewed motion should be denied.

               A.      Calendar Entries

       Possessing for over two years only inadmissible                     of what the government

claims to be random                                     , the government posits that Concord must

have the originals of these items and should be compelled to search for and produce them for trial.

The government purports to have narrowed its second renewed subpoena as it pertains to its request

for Mr. Prigozhin’s calendar entries, but it has not.

       The government’s request for Mr. Prigohzin’s calendar entries is premised on two

arguments, neither of which is sufficient under Nixon to permit a “rational inference” that the

calendar entries the government seeks are relevant or admissible. First, the government asserts




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                            The government’s suggestion that this                         properly

supports any of the new formulations of the subpoena requests for Mr. Prigozhin’s calendar entries

is based on speculation, not a reasonable inference. See United States v. North, 708 F. Supp. 402,

404 (D.D.C. 1989) (rejecting subpoena language that was so broad that it swept irrelevant material

up within its scope); United States v. Libby, 432 F. Supp. 2d 26, 32 (D.D.C. 2006) (finding that

requests for telephone records and calendar was “nothing more than a fishing expedition” because

proponent failed to provide the court “with any basis upon which it can draw a reasonable inference

that there is a real likelihood that the telephone records and calendar would contain relevant and

admissible evidence”).

       The government also refers to




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                                         No amount of logical gymnastics can connect this to the

allegations in the Indictment, as the government contends.

       Next the government represents that the




                 the government grossly overstates the significance of this phrase in an attempt to

support its requested subpoena demand.

       The government asserts over and over again that the term “Lakhta” was supposedly used

by the alleged co-conspirators to refer to the activities of the IRA. Mot. 4, 5, 9, 13, 15. But the

government fails to inform the Court that “Lakhta” actually means a multitude of other things,

including: Lake Lakhta, a lake in the St. Petersburg area, and Lakhta Center, the tallest building in




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Europe, which is located in an area within St. Petersburg called the Lakhta-Olgino Municipal

Okrug. Furthermore, the government insists that it is a “reasonable inference” that a reference to

                                                        must be a reference to Concord’s alleged co-

conspirators Mikhail Burchik or Mikhail Bystrov, apparently not at all concerned that it could be

a reference to anyone named Mikhail—an exceedingly common name in Russia. Mot. 9.3 The

sheer number of assumptions and logical leaps one must take to get from “

                                    that is relevant to the allegations in the Indictment demonstrates

that this inference, on its face, is neither reasonable nor rational.

        Critically, none of these



                         As such, the government is not making a “reasonable inference” that the

subpoena requests for Mr. Prigozhin’s calendar entries—however that request may be phrased—

would lead to relevant and admissible evidence. Jan. 24, 2020 Hr’g Tr. 33:2-5. Rather, the

government is purely speculating about the nature and significance of these                  in hopes

that the Court will allow it to conduct a fishing expedition of any records that may be in Concord’s

possession regarding Mr. Prigozhin’s schedule. This does not satisfy the government’s burden

and the request should be denied.

        Given the speculative nature of the government’s proffer, it is unsurprising that it is unable

to cite to any authority that supports its position. See Mot. 10-11. The government starts with

United States v. Mathis, 216 F.3d 18, 26 (D.C. Cir. 2000), which it cites for the proposition that

“[i]n a conspiracy prosecution, the government is usually allowed considerable leeway in offering



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  It is unclear why the government refers to both of these individual as “Michael” when the
Indictment identifies them both as having the first name “Mikhail.”



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evidence . . . to inform the jury of the background of the conspiracy charged, to complete the story

of the crimes charged, and to help explain to the jury how the illegal relationship between the

participants in the crime developed.” But what the government omits using an ellipsis is the phrase

“of other offenses” and the government fails to advise the Court that the issue in Mathis was the

introduction of “other crimes” evidence under Rule 404(b), in particular an alleged conspiracy

different from the one charged. Id. at 25-26. The government has already stated that it does not

intend to introduce evidence under Rule 404(b) and it has never argued that it is using the trial

subpoena to obtain evidence of other crimes.

          The government follows its citation to Mathis with a lengthy string cite. Mot. 10-11.

However, like Mathis, most of those cases dealt with issues relating to Rule 404(b) evidence and

for that reason are equally inapt. See United States v. Mercado, 573 F.3d 138, 141 (2d Cir. 2009)

(finding evidence properly admitted under Rule 404(b)); United States v. Morrow, No. 04-cr-355,

2005 WL 3159572, at *10 (D.D.C. Apr. 7, 2005) (finding that “evidence of prior bad acts or

uncharged conduct to show association, a developing relationship, and identity is considered valid

under Rule 404(b)”)4; United States v. Moore, 149 F.3d 773, 780-81 (8th Cir. 1998) (stating basic

rule of 404(b) and finding no abuse of discretion); United States v. O’Leary, 739 F.2d 135, 136-

37 (3d Cir. 1984) (same).

          The government also cites two more cases which are even further afield. In United States

v. Cardenas, 9 F.3d 1139, 1157 (5th Cir. 1993), the Fifth Circuit declined to overturn a drug

conviction because it found evidence sufficient to prove all of the elements in the conspiracy

charge. Here, the government quotes Cardenas out of context for the general proposition that

“[a]lthough presence at the scene of the crime or a close association with a co-conspirator alone


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    Again the government omits critical language that puts the cited quotation in context.



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cannot establish voluntary participation in a conspiracy, presence or association is a factor that,

along with other evidence may be relied upon to find conspiratorial activity by the defendant.” Id.

This is as unremarkable as it is irrelevant to the inquiry here, because it has nothing to do with the

Nixon standard or whether a particular request is sufficiently specific to warrant a trial subpoena

under Rule 17.

       The government also cites to United States v. Kuehne, 547 F.3d 667, 688-89 (6th Cir.

2008), for the proposition that a “relationship among coconspirators [is] relevant to show

knowledge and common plan.” Mot. 10. But the issue in Kuehne was whether the prosecutor

engaged in misconduct when he elicited testimony from witnesses regarding the defendant’s time

in prison. On a plain error review, the Sixth Circuit found that the questioning was not improper,

noting that the relationship between the defendant and his alleged co-conspirator was relevant to

proving a number of counts in the indictment. Id. at 688-89. These cases do not support the

government’s position that every possible piece of evidence suggesting a connection between

alleged co-conspirators, no matter how attenuated, is relevant to the conspiracy and admissible at

trial such that it is the appropriate subject of a Rule 17 trial subpoena.

       The government continues by citing Old Chief v. United States, 519 U.S. 172 (1997) for

the proposition that “evidence is relevant if it is ‘a step on one evidentiary route.’” Mot. 11

(quoting Old Chief, 519 U.S. at 179). Old Chief involved a defendant indicted under a statute

which makes illegal for anyone with a prior felony conviction to possess a firearm. Id. at 174.

What the government neglects to mention is that the ultimate issue in Old Chief was not the

relevance of evidence, but whether a district court abused its discretion by admitting the full record

of defendant’s prior criminal conviction despite defendant’s offer to concede that fact. Id. Old

Chief is completely inapposite to the current Motion. The government then provides another string




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cite of inapplicable cases. See United States v. Straker, 800 F.3d 570, 590 (D.C. Cir. 2015) (finding

that prior bad acts evidence was admissible under Rule 404(b)); United States v. Butch, 256 F.3d

171, 176 (3d Cir. 2001) (finding certain evidence of pre-conspiracy activities admissible and

declining to overturn sentence); United States v. Nosal, No. 08-cr-237, 2013 WL 11327121, at *6

(N.D. Cal. 2018) (denying motion in limine to exclude extramarital affair because it was relevant

to the relationship between defendant and co-conspirator).

       While relevance is certainly one consideration in assessing the propriety of a subpoena

under Rule 17, it is not the entire story. Here, the government’s request is improper because it

lacks the required specificity and fails to “provide a link that explains what it expects to find and

why it expects to find it.” Vo, 78 F. Supp. 3d at 181.

               B.      Payment Records

       In quashing the government’s second attempt to obtain payment records, the Court

determined that the government’s reference to budgets exchanged between an IRA accountant and

Concord employees apparently showing payments from Concord to IRA was insufficient support

because the “government has not demonstrated that these budgets relate to the allegations in the

indictment.” Jan. 24, 2020 Hr’g Tr. at 33:18-22. The Court also concluded that even if the

relevance of these budgets were established, the government failed to “justify its request for

records pertaining to all payments between Concord and the IRA,” observing that “[i]t is possible

that some or many of the payments the government seeks do not pertain to allegations contained

in the indictment and would, thus, likely be inadmissible or irrelevant.” Id. (emphasis added).

Nevertheless, in its third attempt to subpoena payment records, the government seeks Court

approval of the same request the Court previously denied. Compare ECF 294-1 request 4, with

ECF 322-1 request 2(a).




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       In arguing that its request is sufficiently specific, the government attempts to draw an

analogy to United States v. Gross, 24 F.R.D. 138 (S.D.N.Y. 1959). Gross, which did not involve

a conspiracy charge, is of no moment and is factually inapposite. The criminal charges brought in

that case were for violations of the Fair Labor Standards Act (“FLSA”) and the government, quite

understandably, subpoenaed records consisting of “payroll, time cards and piece work records for

all employees.” Gross, 24 F.R.D. at 139. In other words, the records sought in Gross were directly

relevant on their face to the FLSA charges at hand. Thus, it is completely unsurprising that the

court in Gross denied the defendants’ motion to quash the subpoena and gave little credence to the

argument “that not every part of the documents is relevant because there are some entries in them

that would not prove violations of the [FLSA,]” because even the documents that did not prove

violations of FLSA were relevant in the sense that they demonstrated the scope of the violation.

Id. at 140. In contrast, the documents sought here—records of any payments made by Concord to

fund “the activities of the IRA”—are not relevant on their face, if they are relevant at all. More

importantly, even if those documents were relevant, the way the government’s subpoena is

crafted—i.e., seeking records related to any payments—will necessarily result, if such records even

exist, in the production of irrelevant and inadmissible material. That consideration is dispositive,

and the government’s request should be denied.

       Moreover, the government’s attempt to support its overbroad request further underscores

the speculative nature of it. The government weaves an intricate narrative involving




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          Despite representing that




                               Further, the government has not pointed to any evidence or example of

an actual payment by Concord to fund the activities of IRA. Thus, the government still fails in its

task of drawing a concrete link between what it has requested and what it expects to find. See Vo ,

78 F. Supp. 3d at 181. Instead, all we have is the government's speculation that because an -

                                                                                   , the government is

now entitled to seek records of any payment from Concord to fund the activities of IRA. This

despite the fact that the Superseding Indictment itself alleges that IRA was involved in projects

involving Russian domestic audiences and foreign counti·ies other than the United States. Sup.

Ind.   ,r ll (a).   There is no link, there is only the government's hope that it will find evidence to

support its allegations, which is insufficient under Rule 17.




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 Undersigned counsel notes that the discove1y materials
evidence su 01iin the overnment 's assertion that




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       For all of these reasons, the government’s “alternative” requests are also based on sheer

speculation that Concord made payments to IRA, not any actual evidence or even rational

inference.

               C.      Communications

       The government relies on the same speculation for its latest request for communications

between Concord and IRA. In particular, it now seeks communications from a four year period

between Concord and Khusyaynova “concerning the activities of [IRA].” The government

attempts to support this request by pointing to the same documents it cites to support its request

for payments—



                                                       Concord disputes the relevance of those

documents to the allegations in the Indictment and, as currently constructed, compliance with the

government’s subpoena will undoubtedly result, if any such documents exist at all, in the

production of communications that are unrelated to the activities alleged in the Indictment, and are

unquestionably irrelevant. Perhaps recognizing the flaw in its request, the government again

proposes variations of this request in piecemeal fashion, tacitly acknowledging the likelihood that

the request is overbroad.

       In an effort to justify its requests, the government again attempts to draw analogy from

Nixon. But as discussed above, the government in Nixon provided tangible evidence that allowed

the Supreme Court to draw a rational inference that the subpoena would result in relevant and

admissible evidence. Here, the government provides no such evidence, instead relying on

conjecture and unsubstantial assertions that have nothing to do with the allegations made in the

Indictment.




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        Notwithstanding the foregoing, there are numerous flaws in the government’s logic and the

inferences drawn in it. For starters, as noted above, the government has not offered any support

for its speculation that

                                            . What the government offers instead is the unsupported

assertion that



                           The government provides absolutely no rational basis for this contention.

The only possible basis for such an inference is that Concord did, in fact, engage in the conduct

alleged in the Superseding Indictment. But as Concord has argued all along, that is not the standard

the government is up against here. To the contrary, the government’s argument amounts to nothing

more than a bald assertion that Khusyaynova, Poloreltseva, and Polikarpova “would undoubtedly

‘say things that would be evidence that [it] could potentially even use in our case-in-chief.’” Vo,

78 F. Supp. 3d at 181. This is precisely the type of “vague justification” that reveals the

government’s true purpose in issuing this subpoena—to engage in a “fishing expedition” and

misuse Rule 17 as a discovery device. Id.

        IV.      CONCLUSION

        In its third attempt to craft a valid subpoena request, the government has once again failed

to meet the high standards for serving and properly structuring an early return trial subpoena under

Rule 17. As such, the government’s second Renewed Motion for Early Return Trial Subpoena

should be denied, and it should not be given any further attempts to remedy its flawed requests.

Dated: February 3, 2020                                 Respectfully submitted,

                                                        CONCORD MANAGEMENT AND
                                                        CONSULTING LLC

                                                        By Counsel



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